  Filing #Case 3:23-cv-00477-JAR-MCR Document 1-5
           170041638   E-Filed 03/30/2023 05:25:23 PM             Filed 04/24/23      Page 1 of 2 PageID 235



                                                        IN THE CIRCUIT COURT, FOURTH
                                                        JUDICIAL CIRCUIT, IN AND FOR
                                                        DUVAL COUNTY. FLORIDA

                                                        CASE NO. : 2022-C A-0027 03
                                                        DIVISION: CV-E

           AMBER MICHELLE MILLS, an individual

                 Plaintiff.


           MARY MCCREA LASETER

                 Defendants


                                                FINAL JUDGMENT

                 Pursuant to the jury's verdict rendered February 17,2023, it is hereby:

           ORDERED AND ADJUDGED nunc pro tunc:

              1. AMBER MICHELLE MILLS shall have and recover from Defendant, MARY
                 MCCREA LASETER. the sum of TWO HI]NDRED FORTY FIVE THOUSAND

                 SEVEN HUNDRED EIGHTY TWO AND 00/100 CENTS ($245'782.00 USD), which

                 shall bear interest at the prevailing statutory rate of 5.52Vo a year, and thereafter the

                  interest rate will adjust in accordance with Florida Statute $ 55.03 (2023), for which let

                  execution issue.

              2. The Court hereby reserves jurisdiction to determine entitlement and amount of any
                  attomey's fees and costs ifapplicable.

                 DONE AND ORDERED at Duval County, Florida Aistnelfaayof March 2023.




                                                                          BRUCE R. ANDERSON, JR.
                                                                          Circuit Court Judge




ACCEPTED: DUVAL COUNTY, JODY PHILLIPS, CLERK, 04/03/2023 07:03:27 AM
Case 3:23-cv-00477-JAR-MCR              Document 1-5   Filed 04/24/23   Page 2 of 2 PageID 236




 COPIES FURNISHED TO:

 Howard G. Butler, Esquire
 Florida Bar No: 0503487
 Drew Baskin, Esquire
 Florida Bar No: 0109388
 Butler Law Group
 1506 Prudential Dr.
 Jacksonville. FL 32207
 Co-counsel for Plaintiff
 hqb@butlerlawgroup.
 du'b@butlcrlawgroup.net
 wie(dbutlcrlawqrouD.net


 Mirelis Castilla
 Florida Bar No.: 40831
 Christopher Walsh
 Florida Bar No.: 92128
 Cole, Scott & Kissane, P.A.
 Lakeside Office Center, Suite 500
 600 North Pine Island Road
 Plantation, Florida 33324
 Mirelis.castilla2csklegal.com
 chri stopher. wasl sh @lskbgal. celo
 Odal s.o            sk le   -c
 Melodr'.d              egal.com




                                                  2
